           Case: 3:21-cv-00306-wmc Document #: 144 Filed: 11/18/21 Page 1 of 2



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                                                                                                       Thomas C. Jensen
November 18, 2021
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U.S. District Court Judge William M. Conley
Western District of Wisconsin
120 North Henry Street
Madison, WI 53703

Re:           Case Nos. 21-cv-00096-wmc & 21-cv-00306-wmc (cons.)
              National Wildlife Refuge Association, et al. v. Rural Utilities Service, et al.
              Summary Judgment -Joint Appendix of Cited Administrative Record Documents

Dear Judge Conley:

        Intervenor-Defendants, American Transmission Company LLC and ATC Management
Inc., ITC Midwest LLC, and Dairyland Power Cooperative ("Co-owners") submit for the
convenience of the Court a flash drive containing a joint appendix of the administrative
documents cited by the parties in the filings supporting their respective motions for summary
judgment in the above-referenced case. An index to the appendix documents, listing the
documents in numerical order within the administrative record provided by each of the three
agency defendants, is also included.

        The large administrative record in this case consists of records produced by multiple
federal agencies, with separate indices, and not all administrative record (AR) documents had
been named by AR number. Co-owners provide this appendix of the cited documents in the
hope that this compilation provides assistance to the Court and the parties going forward in the
case. Providing an appendix in cases that involve large administrative records is a common
practice in APA cases and is required by local rule in some districts. See, e.g., D.D.C.
LCvR 7(n) ("[C]ounsel shall provide the Court with an appendix containing copies of those
portions of the administrative record that are cited or otherwise relied upon in any memorandum
in support of or in opposition to any dispositive motion.... The appendix shall be prepared
jointly by the parties ... The parties are encouraged to agree on the contents of the appendix").




Perkins Coie LLP
          Case: 3:21-cv-00306-wmc Document #: 144 Filed: 11/18/21 Page 2 of 2




 November 18, 2021
 Page2


 Sincerely,




 Thomas C. Jensen

 Attorney for Intervenor-Defendants American Transmission Company
 LLC by its corporate manager, ATC Management Inc., ITC Midwest LLC
 and Dairyland Power Cooperative.

 cc:           Howard Learner (w/enclosures)
               Jacob Ecker (w/enclosures)




Perkins Coie LLP
